
Shirom Acupuncture, P.C., as Assignee of Gretcher Casanova, Appellant,
againstNYCTA-MABSTOA, Respondent.




Gary Tsirelman, P.C. (Irena Golodkeyer of counsel), for appellant.
Foley, Smit, O'Boyle &amp; Weisman (Aaron E. Meyer of counsel), for respondent.

Appeal from a judgment of the Civil Court of the City of New York, Queens County (Larry Love, J.), entered February 6, 2015. The judgment, entered pursuant to an order of that court entered March 6, 2013 granting the branch of defendant's motion seeking to dismiss the complaint pursuant to CPLR 3211 (a) (5) and denying plaintiff's cross motion for summary judgment, dismissed the complaint.




ORDERED that the judgment is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, defendant moved, pursuant to CPLR 3211 (a) (5), to, among other things, dismiss the complaint on the ground that the action had been commenced after the expiration of the three-year limitation period of CPLR 214 (2), which, defendant contended, was applicable to self-insurers such as defendant. Plaintiff cross-moved for summary judgment and argued, among other things, that the action is subject to a six-year statute of limitations. By order entered March 6, 2013, the Civil Court, insofar as is relevant, granted the branch of defendant's motion seeking to dismiss the complaint and implicitly denied plaintiff's cross motion. On February 6, 2015, a judgment was entered dismissing the complaint.
For the reasons stated in Contact Chiropractic, P.C. v New York City Tr. Auth. (31 NY3d 187 [2018]), the judgment is affirmed.
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: November 09, 2018










